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 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                          )
                                                         )
 9                           Plaintiff,                  )
                                                         )
10            v.                                         )         2:11-CR-063-JCM-(CWH)
                                                         )
11    DAVID EVANS,                                       )
                                                         )
12                           Defendant.                  )

13                      AMENDED PRELIMINARY ORDER OF FORFEITURE

14            This Court finds that on June 1, 2011, defendant DAVID EVANS pled guilty to Counts One

15    through Three of a Three-Count Criminal Indictment charging him in Count One with Conspiracy to

16    Commit Trafficking in, Production and Use of Counterfeit Access Devises and Fraudulent

17    Transactions with Access Devises Issued to Other Persons in violation of Title 18, United States Code,

18    Sections 371 and 1029(a)(1) and (5); in Count Two with Fraudulent Transactions with Access Devices

19    Issued to Other Persons in violation of Title 18, United States Code, Section 1029(a)(5); and in Count

20    Three with Trafficking in, Production and Use of Counterfeit Access Devices in violation of Title 18,

21    United States Code, Section 1029(a)(1). Criminal Indictment, ECF No. 1; Minutes of Change of Plea

22    Proceedings, ECF No. 57; Plea Memorandum, ECF No. 59.

23            This Court finds defendant DAVID EVANS agreed to the forfeiture of the property set forth

24    in Forfeiture Allegations of the Criminal Indictment and the Bill of Particulars and agreed to in the

25    Plea Memorandum.

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 1            This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of
 2    America has shown the requisite nexus between property set forth in the Forfeiture Allegations of the
 3    Criminal Indictment and the offenses to which defendant DAVID EVANS pled guilty.
 4            The following assets are subject to forfeiture pursuant to Title 18, United States Code, Section
 5    981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United States Code, Section
 6    982(a)(2)(B); and Title 18, United States Code, Section 1029(c)(1)(C):
 7                   1.     Motorola cell phone S/N SJUG5546AF;
 8                   2.     Blackberry cell phone IMEI# 358453021785810;
 9                   3.     Any and all funds in Bank of America account 5010-0002-7032 in the
10                          amount of $4,453.94;
11                   4.     $10,940 in United States Currency (seized from Joseph Ramirez);
12                   5.     Glock 21, serial number NHP 408 (with 2 magazines);
13                   6.     Dragonov rifle, serial number D029-75 (with scope and 2 magazines);
14                   7.     Two swords in case, unknown make/model;
15                   8.     Ammo can with .308 rounds;
16                   9.     2005 Black Harley Davidson Sportster, VIN# 1HD1CGP195K453157;
17                   10.    Any and all funds in Bank of America Account No. 11020-11128 in the
18                          amount of $15,035.38;
19                   11.    Any and all funds in Bank of America Account No. 5010-0865-1073 in the
20                          amount of $2,897.31;
21                   12.    2007 Grey Dodge Ram, 1500 Quad Cab, VIN# 1D7HA18267S266252;
22                   13.    Black 1999 RE/MAX International Convention laptop bag;
23                   14.    Unitech MSR206u magnetic card reader;
24                   15.    Magnetic card reader power cord;
25                   16.    Magnetic card reader USB connection cord;
26                   17.    Magnetic card reader VGA connection cord;

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 1               18.   Three Players Club cards;
 2               19.   Package of velcro wire retention straps;
 3               20.   Toshiba Satellite laptop, model number PSL2XU, serial number
 4                     X5110890W;
 5               21.   Laptop power cord;
 6               22.   Several sheets of adhesive label paper;
 7               23.   Nokia cell phone;
 8               24.   Camel cigarette pack containing 17 Players Club cards with
 9                     PIN numbers written on back, as follows:
10                     Players Club card with PIN number 1234
11                     Players Club card with PIN number 6280
12                     Players Club card with PIN number 4270
13                     Players Club card with PIN number 2323
14                     Players Club card with PIN number 2222
15                     Players Club card with PIN number 3251
16                     Players Club card with PIN number 1961
17                     Players Club card with PIN number 2210
18                     Players Club card with PIN number 9433
19                     Players Club card with PIN number 1937
20                     Players Club card with PIN number 1110
21                     Players Club card with PIN number 5181
22                     Players Club card with PIN number 0823
23                     Players Club card with PIN number 7777
24                     Players Club card with PIN number 5117
25                     Players Club card with PIN number 1723
26                     Players Club card with PIN number 3188;

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 1                   25.     Disk located in disk drive of Toshiba laptop, identified as MSR 206U 1.
 2                           Demo 2. Programmer's Manual 3. USB Driver; and
 3                   26.     An in personam criminal forfeiture money judgment of $863,895.00 in United
 4                           States Currency (“property”).
 5            This Court finds the United States of America is now entitled to, and should, reduce the
 6    aforementioned property to the possession of the United States of America.
 7            NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the
 8    United States of America should seize the aforementioned property.
 9            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of
10    DAVID EVANS in the aforementioned property is forfeited and is vested in the United States of
11    America and shall be safely held by the United States of America until further order of the Court.
12            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America
13    shall publish for at least thirty (30) consecutive days on the official internet government forfeiture
14    website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state
15    the time under the applicable statute when a petition contesting the forfeiture must be filed, and state
16    the name and contact information for the government attorney to be served with the petition, pursuant
17    to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).
18            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed
19    with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.
20            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,
21    shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the
22    following address at the time of filing:
23                   Michael A. Humphreys
                     Assistant United States Attorney
24                   Daniel D. Hollingsworth
                     Assistant United States Attorney
25                   Lloyd D. George United States Courthouse
                     333 Las Vegas Boulevard South, Suite 5000
26                   Las Vegas, Nevada 89101.

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 1            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein
 2    need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency
 3    following publication of notice of seizure and intent to administratively forfeit the above-described
 4    property.
 5                   September
              DATED this         6, 2012.
                         ______ day of __________________, 2012.
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 9                                                 UNITED STATES DISTRICT JUDGE
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 1                                          PROOF OF SERVICE
 2            I, Elizabeth Baechler-Warren, Forfeiture Support Associate Paralegal, certify that the
 3    following individuals were served with a copy of the foregoing on September 4, 2012, by the
 4    below identified method of service:
 5            CM/ECF:
      Thomas F. Pitaro
 6    1212 S. Casino Center Blvd.
      Las Vegas, NV 89104
 7    Email: thomaspitaro@yahoo.com
      Counsel for Defendant Tony Ahn
 8

 9    Cal J. Potter , III
      Potter Law Offices
10    1125 Shadow Ln.
      Las Vegas, NV 89102
11    Email: info@potterlawoffices.com
      Counsel for Defendant Joseph Ramirez
12
      John C. Funk
13    Potter Law Offices
      1125 Shadow Ln.
14    Las Vegas, NV 89102
      Email: funkman25@hotmail.com
15    Counsel for Defendant Joseph Ramirez

16    Louis C Schneider
      Law Office of Louis C. Schneider, LLC
17    2000 South Eastern Avenue
      Las Vegas, NV 89104
18    Email: lcslaw@yahoo.com
      Counsel for Defendant David Evans
19

20    Osvaldo E Fumo
      Osvaldo E. Fumo, Chtd
21    1212 Casino Center Boulevard
      Las Vegas, NV 89104
22    Email: ozzie@fumolaw.com
      Counsel for Defendant David Pecor
23

24                                                 /s/ Elizabeth Baechler-Warren
                                                   Elizabeth Baechler-Warren
25                                                 Forfeiture Support Associate Paralegal

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